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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                  )
                                               )
              Plaintiffs,                      )
                                               )
vs.                                            )
                                               )
GRANDE COMMUNICATIONS                                No. 1:17-cv-00365
                                               )
NETWORKS LLC and PATRIOT MEDIA                 )
CONSULTING, LLC,                               )
                                               )
              Defendants.
                                               )
                                               )

      NOTICE OF WITHDRAWAL OF DEFENDANT’S MOTION TO AUTHORIZE
           SERVICE OF THIRD-PARTY SUBPOENA BY U.S. MARSHAL

       On May 25, 2018, Defendant Grande Communication Networks LLC (“Grande”) filed its

Motion to Authorize Service of Third-Party Subpoena by U.S. Marshal, Doc. 94 (“Motion”).

Grande now files this Notice to inform the Court that Grande is withdrawing its previously-filed

Motion because, in the time since the Motion was filed, counsel for third-party IP-Echelon

contacted counsel for Grande and accepted service of the subpoena at issue in Grande’s Motion.

Accordingly, the relief sought in the Motion is no longer necessary. Therefore, Grande hereby

provides notice to the Court and respectfully withdraws its Motion.




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Dated: June 6, 2018.                                By: /s/ Nicholas B. Clifford_____
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                                                        Attorneys for Defendant GRANDE
                                                        COMMUNICATIONS NETWORKS LLC




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on June 6, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                            /s/    Nicholas B. Clifford_____
                                                                   Nicholas B. Clifford




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